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IN UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

Energy Transfer Equity, L.P., and

Energy Transfer Partners, L.P., MOTION TO APPEAR

Plaintiffs, PRO HAC VICE

v.
Case No. 17-cv-00173

Greenpeace international (aka "Stichting Greenpeace Council");
Greenpeace, Inc.; Greenpeace Fund, Inc.; Banktrack (aka
"Stichting Banktrack"); Earth First!; and John and Jane Does 1-20,

Defendants

 

Pamela C. Spees, an attorney for Earth First! Journal,
moves the court pursuant to D.N.D. Gen. L. R. 1.3(D) for leave to appear pro hac vice.

In support of the motion to appear pro hac vice, I submit the following information for

consideration by the Court:

 

 

State of Residence: INew York
Office/Firm Address: Center for Constitutional Rights
666 Broadway, 7th Floor

New York, NY 10012

 

Telephone Number (office): |212-614-6431

 

E-mail Address (office): pspees@cerjustice.org

 

 

Legal Training: City University of New York School of Law
Other Bar Admissions: New York, Bar No, 4005203

. . 4 «ge Louisiana, Bar No, 29679
list jurisdiction & ID U.S. District Court, Western District Louisiana, Bar No. 29679

U.S. District Court for the District of Columbia, No. NY0171
USS. District Court for the Northem District of New York, Bar No. 517769
U.S. Court of Appeals, Ist Circuit, Bar No. 1161704

number for each jurisdiction

 

 

Trial Exp erience: Have practiced for 19 years, fed or d-seated imately 12 jury tials, other p dings in state and federal court,

 

 

 

 
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Disciplinary Actions:

list all past or pending
disciplinary actions,
including disbarments,
suspensions, probations, or
any other restrictions

None

 

 

 

I will comply with the Local Rules of the United States District Court for the District of
North Dakota and will submit to the jurisdiction of the court in matters of discipline.

Under penalties of perjury, I declare that the above information is true, correct, and

complete, to the best of my knowledge and belief.

Dated this 27th day of November 2017, Chyb),
aN

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Pamela C. Spees

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